         Case 4:18-cv-01885-HSG Document 990 Filed 05/07/20 Page 1 of 12


 1    Michael P. Sandonato (admitted pro hac vice)    Jonathan M. Sharret (admitted pro hac vice)
      msandonato@venable.com                          jsharret@venable.com
 2    John D. Carlin (admitted pro hac vice)          Joshua D. Calabro (admitted pro hac vice)
      jcarlin@venable.com                             jdcalabro@venable.com
 3    Natalie Lieber (admitted pro hac vice)          Daniel A. Apgar (admitted pro hac vice)
      ndlieber@venable.com                            dapgar@venable.com
 4    Christopher M. Gerson (admitted pro hac vice)   Robert S. Pickens (admitted pro hac vice)
      cgerson@venable.com                             rspickens@venable.com
 5    Jason M. Dorsky (admitted pro hac vice)         Sean M. McCarthy (admitted pro hac vice)
      jmdorsky@venable.com                            smccarthy@venable.com
 6    Stephen K. Yam (admitted pro hac vice)          Caitlyn N. Bingaman (admitted pro hac vice)
      syam@venable.com                                cnbingaman@venable.com
 7                                                    Stephen J. Krachie (admitted pro hac vice)
                                                      skrachie@venable.com
 8
      VENABLE LLP
 9    1290 Avenue of the Americas
      New York, New York 10104-3800
10    Tel: (212) 218-2100
      Fax: (212) 218-2200
11
      Chris Holland (SBN 164053)
12    cholland@hollandlawllp.com
      Lori L. Holland (SBN 202309)
13    lholland@hollandlawllp.com
      Ethan Jacobs (SBN 291838)
14    ejacobs@hollandlawllp.com
15    HOLLAND LAW LLP
      220 Montgomery Street, Suite 800
16    San Francisco, CA 94104
      Tel: (415) 200-4980
17    Fax: (415) 200-4989
18    Attorneys for Plaintiffs
19                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
20
                                        OAKLAND DIVISION
21

22                                                         Case No. 4:18-cv-01885-HSG
     In Re Koninklijke Philips Patent Litigation
23                                                         JOINT STATEMENT IN RESPONSE
                                                           TO COURT’S APRIL 13, 2020 ORDER
24                                                         REGARDING ASUS’S AND PHILIPS’
                                                           MOTIONS FOR PARTIAL
25                                                         SUMMARY JUDGMENT AND
                                                           DAUBERT MOTIONS (DKT. NO. 976)
26                                                         [CORRECTED]

27

28

     JOINT STATEMENT IN RESPONSE TO COURT’S APRIL 13, 2020 ORDER REGARDING ASUS’S AND
           PHILIPS’ MOTIONS FOR PARTIAL SUMMARY JUDGMENT AND DAUBERT MOTIONS
                                  [CORRECTED] (DKT. NO. 976)
                                   CASE NO. 4:18-CV-1885-HSG
         Case 4:18-cv-01885-HSG Document 990 Filed 05/07/20 Page 2 of 12


 1          On April 13, 2020, the Court entered an Order, under seal, that granted in part and denied in
 2   part Defendants ASUSTeK Computer Inc. and ASUS Computer International’s (collectively,
 3   “ASUS”) motion for partial summary judgment and denied Plaintiffs Koninklijke Philips N.V. and
 4   U.S. Philips Corporation’s (“Philips”) motion for partial summary judgment. Dkt. No. 975 (“the
 5   Summary Judgment Order”). The Court also entered an Order, under seal, addressing the parties’
 6   Daubert motions. Dkt. No. 974 (“the Daubert Order”). Each of those Orders contains information
 7   the parties originally sought to be sealed in their briefing, including certain information of non-party
 8   Google LLC (“Google”).
 9          Separately, the Court also ordered the parties to file a joint statement by May 6, 2020 in
10   support of any proposed redactions to the Summary Judgment and Daubert Orders. Dkt. No. 976.
11   Specifically, the Court ordered that: (1) the “summary judgment Order will not be redacted unless
12   the parties file a joint statement by May 6, 2020 articulating compelling reasons to seal portions of
13   the Order that outweigh the public interest in disclosure”; and (2) “as to the Daubert Order, the
14   parties (including any third party) may meet and confer and file a joint statement by May 6, 2020
15   identifying any portion of the Order for which good cause to seal exists. The statement shall
16   articulate specific harm or prejudice that will occur if the information is disclosed.” Id. at 1
17   (emphasis in original). The Court further ordered the parties to attach a proposed redacted version of
18   the Order(s) to that joint statement. Id.
19          Accordingly, Philips, ASUS, and non-party Google have met and conferred, and Philips and
20   Google submit the following statements in support of their respective proposed redactions to the
21   Daubert Order: 1
22          Philips’ Statement:
23          There exists good cause to seal the redacted portions of Exhibit 1 at lines 13:21-22, 14:19-20;
24   15:3; 15:15-16; and 16:19. This same information appeared in Microsoft and ASUS’s Daubert
25   Motion to Exclude Expert Opinions of Michael E. Tate (Damages) (Dkt. No. 742), and the Court
26
            1
              ASUS does not propose any redactions to the Daubert Order, and no party proposes any
27
     redactions to the Summary Judgment Order (an unredacted public version of which is attached
     hereto as Exhibit 2).
28
                                                         1
     JOINT STATEMENT IN RESPONSE TO COURT’S APRIL 13, 2020 ORDER REGARDING ASUS’S AND
           PHILIPS’ MOTIONS FOR PARTIAL SUMMARY JUDGMENT AND DAUBERT MOTIONS
                                  [CORRECTED] (DKT. NO. 976)
                                   CASE NO. 4:18-CV-1885-HSG
         Case 4:18-cv-01885-HSG Document 990 Filed 05/07/20 Page 3 of 12


 1   found good cause sufficient to grant redactions there. In particular, this information appeared at
 2   least at lines 1:21-22; 2:3-4, 8:2-13; 10:19-21; and 14:16-20 of Dkt. No. 742. In seeking to seal this
 3   information there, Philips explained (in Dkt. No. 785, Declaration of Caitlyn N. Bingaman in
 4   Support of Microsoft and ASUS’s Administrative Motion to Seal (Dkt. No. 741)) that:
 5          [T]he Motion to Exclude contains non-public proprietary information concerning
            Philips’ licensing programs, including information that reveals the existence and/or
 6          nonexistence of confidential non-public patent licenses, the terms of such licenses,
            and the negotiation history of such licenses. Philips and the other parties to these
 7
            licenses risk substantial harm if the existence and terms of these licenses were
 8          revealed. For example, this information could be used against both Philips and the
            third-party licensees by their competitors and other potential litigants during the
 9          course of future negotiations over future licensing agreements.

10
            ...
            Philips itself also has obligations to certain third-parties to keep the terms and/or
11          existence of certain disclosed license agreements confidential. Philips accordingly
            requests that the Court seal those portions of the Motion to Exclude that discuss
12
            material designated as confidential by Philips, as reflected in the proposed redactions
13          filed herewith. Big Baboon, Inc. v. SAP America, Inc., No. 4:17-cv-02082-HSG, 2019
            WL 1791421 at *5 (N.D. Cal. Apr. 24, 2019) (granting motion to seal because the
14          exhibits contained confidential pricing information that could be harmful if public
            and the documents were “narrowly tailored to seal only sealable material”); FTC v.
15          Qualcomm Inc., No. 17-CV-220-LHK, 2019 WL 95922, at *3 (N.D. Cal. Jan. 3,
16
            2019) (granting motion to seal as information may “divulge[] terms of confidential
            contracts, contract negotiations, or trade secrets”).
17
     See Dkt. No. 785 at 3. On consideration of this declaration, the Court found good cause to seal
18
     the information in Dkt. No. 742 at lines 1:21-22; 2:3-4, 8:2-13; 10:19-21; and 14:16-20. See Dkt.
19
     No. 977 at 13:14-14:12. The same good-cause standard applies here as to Philips’ request to seal
20
     Exhibit 1 at lines 13:21-22, 14:19-20; 15:3; 15:15-16; and 16:19, and therefore Philips
21
     respectfully requests that the Court seal the same information in Exhibit 1 that it sealed in
22
     Microsoft and ASUS’s Daubert Motion to Exclude Expert Opinions of Michael E. Tate
23
     (Damages) (Dkt. No. 742).
24
            There exists good cause to seal the redacted portion of Exhibit 1 at 13:22-23. The same
25
     information appeared in Microsoft and ASUS’s Daubert Motion to Exclude Expert Opinions of
26
     Michael E. Tate (Damages) (Dkt. No. 742), and the Court found good cause sufficient to grant
27
     redactions there. In particular, this information appeared at least at lines 7:21-25 and 14:27-15:1 of
28
                                                        2
     JOINT STATEMENT IN RESPONSE TO COURT’S APRIL 13, 2020 ORDER REGARDING ASUS’S AND
           PHILIPS’ MOTIONS FOR PARTIAL SUMMARY JUDGMENT AND DAUBERT MOTIONS
                                  [CORRECTED] (DKT. NO. 976)
                                   CASE NO. 4:18-CV-1885-HSG
         Case 4:18-cv-01885-HSG Document 990 Filed 05/07/20 Page 4 of 12


 1   Dkt. No. 742. In seeking to seal this information, Philips explained (Docket No. 785, Declaration of
 2   Caitlyn N. Bingaman in Support of Microsoft and ASUS’s Administrative Motion to Seal (Dkt. No.
 3   741)) that:
 4          [T]he Motion to Exclude contains non-public proprietary information concerning
            Philips’ licensing programs, including confidential information concerning the
 5          creation and development of Philips’ licensing programs, the setting of royalty rates,
            and Philips’ internal valuations of the patents contained in these programs, as well as
 6
            Philips’ confidential non-public business practices in enforcing such programs. This
 7          information is proprietary to Philips and the public disclosure of such information
            would severely harm Philips, as it could be used against Philips by other potential
 8          litigants and licensees during the course of licensing negotiations.

 9
            ...
            Philips accordingly requests that the Court seal those portions of the Motion to
10          Exclude that discuss material designated as confidential by Philips, as reflected in the
            proposed redactions filed herewith. Big Baboon, 2019 WL 1791421 at *5 (granting
11
            motion to seal because the exhibits contained confidential pricing information that
12          could be harmful if public and the documents were “narrowly tailored to seal only
            sealable material”); Synchross Techs., Inc. v. Dropbox Inc., No. 16-cv-00119-HSG,
13          2018 WL 6002319, at *3 (N.D. Cal. Nov. 15, 2018) (granting motions to seal
            documents which disclosed confidential business strategies and information).
14
     See Dkt. No. 785 at 3-4. On consideration of this declaration, the Court found good cause to seal
15
     the information in Dkt. No. 742 at lines 7:21-25 and 14:27-15:1. See Dkt. No. 977 at 13:14-
16
     14:12. The same good-cause standard applies here as to Philips’ request to seal Exhibit 1 at lines
17
     13:22-23, and therefore Philips respectfully requests that the Court seal the same information in
18
     Exhibit 1 that it sealed in Microsoft and ASUS’s Daubert Motion to Exclude Expert Opinions of
19
     Michael E. Tate (Damages) (Dkt. No. 742).
20
            Google’s Statement:
21
            There is good cause to seal the redacted portions of Exhibit 1 at 9:17, 9:22, 9:23 (first
22
     redaction), 9:27, 10:2, 10:4, 11:5, and 11:11. The same information appeared in the parties’
23
     briefing underlying the Court’s Order, and the Court found good cause to redact there:
24
        ● The same information appeared in Philips’ Motion to Exclude Untimely Theories in Dr.
25
            Bulterman’s Rebuttal Expert Report Served on Behalf of ASUS Concerning U.S. Patent
26
            No. 7,529,806, Docket No. 766, at 2:16, 2:17, 2:18, 2:20, 3:1, 3:6, 3:8, 3:9, 3:10, 3:11,
27
            4:3, 4:18, 4:26, 7:4, 7:7, 7:26, 8:6, 8:8, 8:10 (both), 8:11, 8:23, 8:27, 9:6 (both), 9:16,
28
                                                         3
     JOINT STATEMENT IN RESPONSE TO COURT’S APRIL 13, 2020 ORDER REGARDING ASUS’S AND
           PHILIPS’ MOTIONS FOR PARTIAL SUMMARY JUDGMENT AND DAUBERT MOTIONS
                                  [CORRECTED] (DKT. NO. 976)
                                   CASE NO. 4:18-CV-1885-HSG
       Case 4:18-cv-01885-HSG Document 990 Filed 05/07/20 Page 5 of 12


 1        12:11, 12:15, 12:19, 12:26, 14:24, and 15:4. Seeking to seal this information, Google
 2        submitted a declaration which stated in Paragraph 18 that these redactions protected
 3        “proprietary information that is confidential to non-party Google,” specifically,
 4        “information regarding the operation of confidential functionalities in the accused
 5        products” and “discussion of Google’s highly confidential and proprietary source code
 6        produced under the protective order governing confidentiality in this action.” Docket No.
 7        781 ¶ 18. Google accordingly requested that “the Court seal those portions” of the
 8        briefing. Id. After reviewing these materials, the Court found “good cause” to seal this
 9        information. Docket No. 977 at 3:5-6; see id. at 11:26-28.
10     ● The same information appeared in ASUS’ Opposition to Philips’ Motion to Exclude
11        Portions of Dr. Bulterman’s Rebuttal Expert Report Concerning U.S. Patent No.
12        7,529,806, Docket No. 832, at i:9, i:11, i:14, 3:23, 3:27, 4:7, 4:11, 4:14, 4:16, 4:18, 5:2,
13        5:4, 5:8, 6:16, 6:20, 7:2, 7:16, 7:19, 10:18 (both), 10:19, 10:20, 12:17, 12:19, and 12:20.
14        Seeking to seal this information, Google submitted a declaration which stated in
15        Paragraph 21 that these redactions protected “Google’s proprietary and confidential
16        information,” specifically, “non-public technical information regarding accused products
17        in this action,” and “discussion of Google’s highly confidential source code and how its
18        YouTube product operates.” Docket No. 853 ¶ 21. Google accordingly requested that
19        “the Court seal those portions” of the briefing. Id. After reviewing these materials, the
20        Court previously found “good cause” to seal this information in the briefing. Docket No.
21        977 at 3:5-6; see id. at 24:11-16.
22     ● The same information appeared in Philips’ Reply in Support of Motion to Exclude Certain
23        Opinions in Dr. Bulterman’s Rebuttal Expert Report Served on Behalf of ASUS
24        Concerning U.S. Patent No. 7,529,806, Docket No. 900 at i:16, 1:7, 1:9, 1:13, 2:4, 2:7
25        (both), 2:8, 6:28, 7:2, 7:4 (both), 7:6, 7:9, 7:12, 7:28, 9:8, 10:14, 10:18, 11:1, 11:2, 11:5,
26        11:24, 11:25, 11:26, 13:23, 15:22, 15:25. Seeking to seal this information, Google
27        submitted a declaration which stated in Paragraph 7 that these redactions protected
28
                                                       4
     JOINT STATEMENT IN RESPONSE TO COURT’S APRIL 13, 2020 ORDER REGARDING ASUS’S AND
           PHILIPS’ MOTIONS FOR PARTIAL SUMMARY JUDGMENT AND DAUBERT MOTIONS
                                  [CORRECTED] (DKT. NO. 976)
                                   CASE NO. 4:18-CV-1885-HSG
         Case 4:18-cv-01885-HSG Document 990 Filed 05/07/20 Page 6 of 12


 1          “Google’s proprietary and confidential information,” specifically, “non-public technical
 2          information regarding accused products in this action,” and “detailed discussion of
 3          Google’s highly confidential source code and how its products operate.” Docket No. 917
 4          ¶ 7. Google accordingly requested that “the Court seal those portions” of the briefing.
 5          Id. After reviewing these materials, the Court previously found “good cause” to seal this
 6          information in the briefing. Docket No. 977 at 3:5-6; see id. at 28:13-18.
 7   The same good-cause standard applies to the Order that applies to the briefing, compare Docket
 8   No. 977 at 2:23-27 with Docket No. 976 at 1:26-27, and Google respectfully submits that the
 9   Court should seal the same information in the Order that it sealed in the briefing.
10          There is good cause to seal the redacted portions of Exhibit 1 at 9:18, 10:8, 10:15, 10:17,
11   11:12. The same information appeared in the parties’ briefing underlying the Court’s Order, and
12   the Court found good cause to redact there:
13      ● The same information appeared in Philips’ Motion to Exclude Untimely Theories in Dr.
14          Bulterman’s Rebuttal Expert Report Served on Behalf of ASUS Concerning U.S. Patent
15          No. 7,529,806, Docket No. 766, at 3:12, 3:16, 3:19, 4:2, 4:3, 4:18, 4:26, 8:13, 8:23, 8:27,
16          12:16, and 15:1. Seeking to seal this information, Google submitted a declaration which
17          stated in Paragraph 18 that these redactions protected “proprietary information that is
18          confidential to non-party Google,” specifically, “information regarding the operation of
19          confidential functionalities in the accused products” and “discussion of Google’s highly
20          confidential and proprietary source code produced under the protective order governing
21          confidentiality in this action.” Docket No. 781 ¶ 18. Google accordingly requested that
22          “the Court seal those portions” of the briefing. Id. After reviewing these materials, the
23          Court found “good cause” to seal this information. Docket No. 977 at 3:5-6; see id. at
24          11:26-28.
25      ● The same information appeared in Philips’ Reply in Support of Motion to Exclude Certain
26          Opinions in Dr. Bulterman’s Rebuttal Expert Report Served on Behalf of ASUS
27          Concerning U.S. Patent No. 7,529,806, Docket No. 900 at i:16, 1:14, 1:20, 2:11 (both),
28
                                                        5
     JOINT STATEMENT IN RESPONSE TO COURT’S APRIL 13, 2020 ORDER REGARDING ASUS’S AND
           PHILIPS’ MOTIONS FOR PARTIAL SUMMARY JUDGMENT AND DAUBERT MOTIONS
                                  [CORRECTED] (DKT. NO. 976)
                                   CASE NO. 4:18-CV-1885-HSG
         Case 4:18-cv-01885-HSG Document 990 Filed 05/07/20 Page 7 of 12


 1          7:17, 7:19, 7:21, 8:2, 9:9, 11:20, 11:21, 13:23, 15:23, 15:26. Seeking to seal this
 2          information, Google submitted a declaration which stated in Paragraph 7 that these
 3          redactions protected “Google’s proprietary and confidential information,” specifically,
 4          “non-public technical information regarding accused products in this action,” and
 5          “detailed discussion of Google’s highly confidential source code and how its products
 6          operate.” Docket No. 917 ¶ 7. Google accordingly requested that “the Court seal those
 7          portions” of the briefing. Id. After reviewing these materials, the Court previously found
 8          “good cause” to seal this information in the briefing. Docket No. 977 at 3:5-6; see id. at
 9          28:13-18.
10   The same good-cause standard applies to the Order that applies to the briefing, compare Docket
11   No. 977 at 2:23-27 with Docket No. 976 at 1:26-27, and Google respectfully submits that the
12   Court should seal the same information in the Order that it sealed in the briefing.
13          There is good cause to seal the redacted portions of Exhibit 1 at 9:23-25, 9:27. The same
14   information appeared in the parties’ briefing underlying the Court’s Order, and the Court found
15   good cause to redact there:
16      ● The same information appeared in Philips’ Motion to Exclude Untimely Theories in Dr.
17          Bulterman’s Rebuttal Expert Report Served on Behalf of ASUS Concerning U.S. Patent
18          No. 7,529,806, Docket No. 766, at 2:15-19. Seeking to seal this information, Google
19          submitted a declaration which stated in Paragraph 18 that these redactions protected
20          “proprietary information that is confidential to non-party Google,” specifically,
21          “information regarding the operation of confidential functionalities in the accused
22          products” and “discussion of Google’s highly confidential and proprietary source code
23          produced under the protective order governing confidentiality in this action.” Docket No.
24          781 ¶ 18. Google accordingly requested that “the Court seal those portions” of the
25          briefing. Id. After reviewing these materials, the Court found “good cause” to seal this
26          information. Docket No. 977 at 3:5-6; see id. at 11:26-28.
27

28
                                                        6
     JOINT STATEMENT IN RESPONSE TO COURT’S APRIL 13, 2020 ORDER REGARDING ASUS’S AND
           PHILIPS’ MOTIONS FOR PARTIAL SUMMARY JUDGMENT AND DAUBERT MOTIONS
                                  [CORRECTED] (DKT. NO. 976)
                                   CASE NO. 4:18-CV-1885-HSG
         Case 4:18-cv-01885-HSG Document 990 Filed 05/07/20 Page 8 of 12


 1      ● The same information appeared in ASUS’ Opposition to Philips’ Motion to Exclude
 2          Portions of Dr. Bulterman’s Rebuttal Expert Report Concerning U.S. Patent No.
 3          7,529,806, Docket No. 832, at 7:19-22. Seeking to seal this information, Google
 4          submitted a declaration which stated in Paragraph 21 that these redactions protected
 5          “Google’s proprietary and confidential information,” specifically, “non-public technical
 6          information regarding accused products in this action,” and “discussion of Google’s
 7          highly confidential source code and how its YouTube product operates.” Docket No. 853
 8          ¶ 21. Google accordingly requested that “the Court seal those portions” of the briefing.
 9          Id. After reviewing these materials, the Court previously found “good cause” to seal this
10          information in the briefing. Docket No. 977 at 3:5-6; see id. at 24:11-16.
11      ● The same information appeared in Philips’ Reply in Support of Motion to Exclude Certain
12          Opinions in Dr. Bulterman’s Rebuttal Expert Report Served on Behalf of ASUS
13          Concerning U.S. Patent No. 7,529,806, Docket No. 900 at 7:11-16. Seeking to seal this
14          information, Google submitted a declaration which stated in Paragraph 7 that these
15          redactions protected “Google’s proprietary and confidential information,” specifically,
16          “non-public technical information regarding accused products in this action,” and
17          “detailed discussion of Google’s highly confidential source code and how its products
18          operate.” Docket No. 917 ¶ 7. Google accordingly requested that “the Court seal those
19          portions” of the briefing. Id. After reviewing these materials, the Court previously found
20          “good cause” to seal this information in the briefing. Docket No. 977 at 3:5-6; see id. at
21          28:13-18.
22   The same good-cause standard applies to the Order that applies to the briefing, compare Docket
23   No. 977 at 2:23-27 with Docket No. 976 at 1:26-27, and Google respectfully submits that the
24   Court should seal the same information in the Order that it sealed in the briefing.
25          There is good cause to seal the redacted portions of Exhibit 1 at 10:18. The same
26   information appeared in the parties’ briefing underlying the Court’s Order, and the Court found good
27   cause to redact there. The same information appeared in ASUS’ Opposition to Philips’ Motion to
28
                                                        7
     JOINT STATEMENT IN RESPONSE TO COURT’S APRIL 13, 2020 ORDER REGARDING ASUS’S AND
           PHILIPS’ MOTIONS FOR PARTIAL SUMMARY JUDGMENT AND DAUBERT MOTIONS
                                  [CORRECTED] (DKT. NO. 976)
                                   CASE NO. 4:18-CV-1885-HSG
         Case 4:18-cv-01885-HSG Document 990 Filed 05/07/20 Page 9 of 12


 1   Exclude Portions of Dr. Bulterman’s Rebuttal Expert Report Concerning U.S. Patent No. 7,529,806,
 2   Docket No. 832, at 5:21, 5:22, 5:23, 5:25, 6:2, 6:11, 6:24, 7:7, 7:13, and 11:12. Seeking to seal this
 3   information, Google submitted a declaration which stated in Paragraph 21 that these redactions
 4   protected “Google’s proprietary and confidential information,” specifically, “non-public technical
 5   information regarding accused products in this action,” and “discussion of Google’s highly
 6   confidential source code and how its YouTube product operates.” Docket No. 853 ¶ 21. Google
 7   accordingly requested that “the Court seal those portions” of the briefing. Id. After reviewing these
 8   materials, the Court previously found “good cause” to seal this information in the briefing. Docket
 9   No. 977 at 3:5-6; see id. at 24:11-16. The same good-cause standard applies to the Order that
10   applies to the briefing, compare Docket No. 977 at 2:23-27 with Docket No. 976 at 1:26-27, and
11   Google respectfully submits that the Court should seal the same information in the Order that it
12   sealed in the briefing.
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                        8
     JOINT STATEMENT IN RESPONSE TO COURT’S APRIL 13, 2020 ORDER REGARDING ASUS’S AND
           PHILIPS’ MOTIONS FOR PARTIAL SUMMARY JUDGMENT AND DAUBERT MOTIONS
                                  [CORRECTED] (DKT. NO. 976)
                                   CASE NO. 4:18-CV-1885-HSG
        Case 4:18-cv-01885-HSG Document 990 Filed 05/07/20 Page 10 of 12


 1   Dated: May 7, 2020
                                            Respectfully submitted,
 2

 3   Chris Holland (SBN 164053)             /s/ Robert S. Pickens
     Lori L. Holland (SBN 202309)           Michael P. Sandonato (admitted pro hac vice)
 4   HOLLAND LAW LLP                        John D. Carlin (admitted pro hac vice)
     220 Montgomery Street, Suite 800       Christopher M. Gerson (admitted pro hac vice)
 5   San Francisco, CA 94104                Natalie D. Lieber (admitted pro hac vice)
     Telephone: (415) 200-4980              Jason M. Dorsky (admitted pro hac vice)
 6   Fax: (415) 200-4989                    Stephen K. Yam (admitted pro hac vice)
     cholland@hollandlawllp.com             Jonathan M. Sharret (admitted pro hac vice)
 7   lholland@hollandlawllp.com             Joshua D. Calabro admitted pro hac vice)
                                            Daniel A. Apgar (admitted pro hac vice)
 8                                          Sean M. McCarthy (admitted pro hac vice)
                                            Robert S. Pickens (admitted pro hac vice)
 9                                          Caitlyn N. Bingaman (admitted pro hac vice)
                                            Stephen J. Krachie (admitted pro hac vice)
10
                                            VENABLE LLP
11                                          1290 Avenue of the Americas
                                            New York, New York, 10104
12                                          +1 (212) 218-2100
                                            +1 (212) 218-2200 facsimile
13                                          philipsprosecutionbar@venable.com
14
                                            Attorneys for Plaintiffs Koninklijke Philips
15                                          N.V. and U.S. Philips Corporation

16

17

18

19

20

21

22

23

24

25

26

27

28
                                           9
     JOINT STATEMENT IN RESPONSE TO COURT’S APRIL 13, 2020 ORDER REGARDING ASUS’S AND
           PHILIPS’ MOTIONS FOR PARTIAL SUMMARY JUDGMENT AND DAUBERT MOTIONS
                                  [CORRECTED] (DKT. NO. 976)
                                   CASE NO. 4:18-CV-1885-HSG
        Case 4:18-cv-01885-HSG Document 990 Filed 05/07/20 Page 11 of 12


 1
     Bruce Genderson (pro hac vice)                        Matthew S. Warren (Bar No. 230565)
 2   Kevin Hardy (pro hac vice)                            Erika H. Warren (Bar No. 295570)
     Aaron Maurer (pro hac vice)                           WARREN LEX LLP
 3   David Krinsky (pro hac vice)                          2261 Market Street, No. 606
     Andrew Trask (pro hac vice)                           San Francisco, California, 94114
 4   Kyle Thomason (pro hac vice)                          +1 (415) 895-2940
     WILLIAMS & CONNOLLY LLP                               +1 (415) 895-2964 facsimile
 5
     725 Twelfth Street, N.W.                              18-1885@cases.warrenlex.com
 6   Washington, D.C., 20005
     +1 (202) 434-5000
 7   +1 (202) 434-5029 facsimile
     viceroy@wc.com
 8
     Michael J. Newton (Bar No. 156225)
 9
     Sang (Michael) Lee (pro hac vice)
10   Derek Neilson (pro hac vice)
     ALSTON & BIRD LLP
11   2200 Ross Avenue, Suite 2300
     Dallas, Texas, 75201
12   +1 (214) 922-3400
     +1 (214) 922-3899 facsimile
13
     asus-philips@alston.com
14

15
     Attorneys for Defendants ASUSTeK Computer Inc. and ASUS Computer International
16
     _______________________________
17
     Matthew S. Warren (Bar No. 230565)
18   Erika H. Warren (Bar No. 295570)
     WARREN LEX LLP
19   2261 Market Street, No. 606
     San Francisco, California, 94114
20   +1 (415) 895-2940
21
     +1 (415) 895-2964 facsimile
     18-1885@cases.warrenlex.com
22
     Attorneys for Non-Party Google LLC
23

24

25

26

27

28
                                                 10
     JOINT STATEMENT IN RESPONSE TO COURT’S APRIL 13, 2020 ORDER REGARDING ASUS’S AND
           PHILIPS’ MOTIONS FOR PARTIAL SUMMARY JUDGMENT AND DAUBERT MOTIONS
                                  [CORRECTED] (DKT. NO. 976)
                                   CASE NO. 4:18-CV-1885-HSG
        Case 4:18-cv-01885-HSG Document 990 Filed 05/07/20 Page 12 of 12


                                    CIVIL L.R. 5-1(i) ATTESTATION
 1

 2          I, Chris Holland, hereby attest that I have been authorized by counsel for the parties listed

 3   above to execute and file this document on their behalf.

 4
            Dated: May 7, 2020                              /s/ Chris Holland
 5
                                                            Chris Holland
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                       11
     JOINT STATEMENT IN RESPONSE TO COURT’S APRIL 13, 2020 ORDER REGARDING ASUS’S AND
           PHILIPS’ MOTIONS FOR PARTIAL SUMMARY JUDGMENT AND DAUBERT MOTIONS
                                  [CORRECTED] (DKT. NO. 976)
                                   CASE NO. 4:18-CV-1885-HSG
